IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY, PENNSYLVANIA

CHRISTINE BIROS, Case No. 17 CJ 04886
Plaintiff,
VS. NOTICE OF APPEAL
U LOCK INC.,
Defendant,

SHANNI SNYDER,

Non-party Appellant.

Filed on behalf of:

oe Shanni Snyder, non-party
BSS 2 Appellant.
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meso S94
tow — ms
Ze _~ “Ib .
Ss = xf Counsel of record for this party:
ee es I
OY ews
ew = :
oo Shanni Snyder

14390 Route 30

North Huntingdon PA 15642
(412) 206-6850
shannis@pm.me
IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY, PENNSYLVANIA

CHRISTINE BIROS, Case No. 17 CU 04886
Plaintiff,
VS.
U LOCK INC.,

Debtor in Bankruptcy,
SHANNI SNYDER,

Non-party Appellant.

NOTICE OF APPEAL

Notice is hereby give that non-party Shanni Snyder, an individual who is judgment
creditor at case 21-JU-04758 of debtor in bankruptcy and defendant U Lock Inc., and
holding a lien on all assets of said defendant, and harmed by the actions of this Court which
rendered an Order that eviscerates and appears to supersede portions of her judgment lien,
hereby appeals to the Superior Court of Pennsylvania from the Order entered in the above
case at 11:47 a.m. on the 17th day of May, 2022 (directing the Prothonotary to issue a Writ
of Possession that includes terms to “authorize levy and sale of any property of Defendant U
Lock’ in favor of Plaintiff Christine Biros).

TRANSCRIPT ORDER: Shanni Snyder hereby orders a transcript of the hearing in

connection with this appeal. Said hearing occurred on an unknown date not contained on
the docket and without public notice.

Respectfully submitted,

hanni Snyder
14390 Route 30
North Huntingdon PA 15642
(412) 206-6850
shannis@pm.me
DOCKET ENTRIES
Case Information

 

 

 

 

 

 

 

 

 

 

 

 

 

Case# Caption Reference Judgment Filed Date Case Type/Subtype Status Judge
File Amt
17C0J0488€ CHRISTINE BIROS /INDIVID VS Jan/24/201€ LIS PENDENS NEW ACTIVE Rita Donovan
U LOCK INC FILE Hathaway
Parties
Party Type Name Address
DEFENDANT DENNIS D DEL 4345 OLD WILLIAM PENN HWY , MURRYSVILLE , PA, 15668
ATTY COTTO
DEFENDANT J ALLEN ROTH 805 S ALEXANDRIA STREET , LATROBE , PA, 15650
ATTY
DEFENDANT JOHN A TUMOLO 437 GRANT STREET , PITTSBURGH , PA, 15219
ATTY
DEFENDANT DENISE SCHUR 8700 CLEVELAND ROAD, CRESTON, OH, 44217, USA
(EXEC
DEFENDANT ALEX SCHUR
fESTATE
DEFENDANT HENRY L MOORE /CO 310 KEYSTONE COMMONS 35 WEST PITTSBURGH STREET, GREENSBURG,
EXEC PA, 15601, USA
PLAINTIFF WILLIAM E OTTO PO BOX 701 , MURRYSVILLE , PA, 15668
ATTY
PLAINTIFF GHRISTINE BIROS 435 MILLERS LANE, PLUM, 15239
ANDIVID ‘
DEFENDANT SUSAN STANO /CO 31856 LAKE DRIVE, AVON LAKE, OHIO, 44012, USA
EXEC
DEFENDANT NICHOLAS SCHUR
/ESTATE
DEFENDANT KATHLEEN S$ WALTER 3 RIDGE COURT, SARATOGA SPRINGS, NY, 12866, USA

/EXEG

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DEFENDANT MICHAEL SCHUR
ESTATE
DEFENDANT CYNTHIA SARRIS 14249 HILAND PLACE, IRWIN, PA, 15642, USA
{ADMIN

DEFENDANT ANN SARRIS /ESTATE

DEFENDANT U LOCK INC 14140 ROUTE 30, NORTH HUNTINGDON, PA, 15642, USA
Events

Action Action Description Action Name View
Date Docu
ment

May/17 seers NOT VERIFIED seinereee® MOT VERIFIED *40****™

12022 RAATKEAEK

May/17 ORDER DENYING ORDER MAY 13 2022 DENIED WITH PREJUDICE NOTICE GIVEN View
42022 RULE N 236

May/17 sereeorees NOT VERIFIED saeeeee® NOT VERIFIED *********

{2022 EERE

May/17 ORDER ORDER MAY 13 2022 AS SET FORTH NOTICE GIVEN RULE N 236 View
#2022

May/17 ek kee NOT VERIFIED skew NOT VERIFIED kkkhkkkkn

#2022 eka ekki

May/17 ORDER ORDER MAY 13 2022 AS SET FORTH NOTICE GIVEN RULE N 236 View
72022

Apr/25/ BRIEF IN OPPOSITION TO FOR SANCTIONS View
2022 MOTION

Apri21/ PRELIMINARY DEFT U LOCK INCS PRELIMINARY OBJECTIONS RAISING ISSUES View
2022 OBJECTIONS OF FACT TO THE PETITION FOR WRIT OF POSSESSION

Mar/18 ORDER PENDING SUPRME COURT OF PA WESTERN DISTRICT View
/2022

Marl? EXHIBITS IN SUPPORT OF PETITION TO STRIKE ORDER OF JANUARY 20 View
12022 2022 AS SET FORTH

Mar/17 MOT/PET STRIKE PETITION TO STRIKE ORDER OF JAN 20 2022 AS SET FORTH View
/2022 —
Jani24! ORDER ORDER JANUARY 20, 2022 NOTICE GIVEN RULE N236 View
2022

Aug/27 *MOTIPET STAY TAX SALE AND ORDER DATED AUGUST 27 2021 GRANTING STAY RULE N 236 View
42021 NOTICE SENT

May/08 ORDER DENYING ORDER MAY 7, 2020 MOTION 1S DENIED WITHOUT PREJUDICE View

#2020

MOTION

 
 

 

 

 

 

 

 

 

 

 

 

 

 

Apr/t3/ OBJECTIONS DEFTS OBJECTIONS TO PLFFS INTERROGATORIES REQUEST FOR View
2020 ADMISSIONS AND REQUEST FOR PRODUCTION OF DOCUMENTS

IN AID OF EXECUTION DIRECTED TO U LOCK INC
Mar/26 BRIEF IN OPPOSITION TO TO DELIVER DEEDS TO PLFF View
/2020 MOTION
Mar/23 BRIEF IN SUPPORT OF TO DELIVER DEEDS TO PLFF View
12020 MOTION
Mar/23 MOTION/PETITION MOTION TO DELIVER DEEDS TO PLFF View
12020
Feb/07 NOTICE SENT TO ALL NOTICE SENT TO ALL COUNSEL & UNREPRESENTED
/2020 COUNSEL & PARTIES/PER PA RA

UNREPRESENTED
PARTIES/PER PA RA

Feb/o4 SUPPLEMENT ORDER TO RULE 1925a View
12020
Feb/04 ORDER PURSUANT TO ORDER PURSUANT TO RULE 1925(A) View
12020 RULE 1925(A)
Jani24i BRIEF IN SUPPORT OF TO REQUIRE DEFT TO POST SECURITY View
2020 MOTION
Jan/24/ STATEMENT PURSUANT OF ISSUES TO BE RAISED ON APPEAL View
2020 TO RULE 1925
Jan/24/ BRIEF IN OPPOSITION TO TO REQUIRE DEFT TO POST SECURITY PURSUANT TO PARAP View
2020 MOTION 1733 AND OBJECTIONS TO THE PROPERTY INSPECTION

PROCEDURE
Jan/2a/ VERIFICATION OF GEORGE SNYDER JR AS TO PLFFS MOTION TO REQUIRE DEFT View
2020 TO POST SECURITY PURSUANT TO PENNSYLVANIA RULE OF

APPELLATE PROCEDURE 1733
Jan/10/ MOTION/PETITION MOTION TO REQUIRE DEFT TO POST SECURITY PURSUANT TO View
2020 PARAP RULE 1733
Jan/10/ MOTION/PETITION MOTION TO DIRECT DEFT TO FILE A STATEMENT OF ERRORS View
2020 COMPLAINED OF ON APPEAL PURSUANT TO PARAP RULE 1925B

AND ORDER AS SET FORTH

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Jan/08/ *JUDGMENT EO DIE: ON COURT ORDER DATED AUG 23, 2019 JUDGMENT ENTERED View
2020 JUDGMENT NOTICE SENT

ENTERED/NOTICE SENT
Jan/os/ OPPOSITION DEFT U LOCK INCS OPPOSITION TO MOTION TO REQUIRE DEFT View
2020 TO POST SECURITY PURSUANT TO PARAP 1733
Dec/20 NOTICE APPEAL FROM NOTICE APPEAL FROM THE SUPERIOR COURT View
/2019 THE SUPERIOR COURT
Deci13 *NOTICE APPEAL TO THE "NOTICE APPEAL TO THE SUPERIOR COURT View
#2019 SUPERIOR COURT
Dec/09 OPINION AND ORDER OPINION AND ORDER DECEMBER 6 2019 AS SET FORTH N236 View
#2019
Novwi26 TRANSCRIPT OF TRANSCRIPT OF PROCEEDINGS View
/2019 PROCEEDINGS
Oct/2t/ BRIEF IN OPPOSITION TO PURSUANT TO PARCIV PROC 227.1 View
2019 POST-TRIAL MOTION
Oct/t 7! ORDER CONTINUING OCTOBER 16 2019THE HEARING ON PLFFS MOTION FOR POST View
2019 HEARING * TRIAL MOTION IS HEREBY CONTINUED TO NOVEMBE 8 2019
Oct 5/ BRIEF IN OPPOSITION TO PLAINTIFFS BRIEF IN OPPOSITION TO DEFENDANT U LOCK INCS View
2019 POST-TRIAL MOTIOINS PURSUANT TO PAR CIV PROC RULE 227.1
Sep/30 BRIEF IN SUPPORT OF PURSUANT TO PARGIV PROC RULE 227.1 View
(2019 POST-TRIAL MOTION
Sep/23 BRIEF IN SUPPORT OF RELIEF PURSUANT TO PENNSYLVANIA RULE OF CIVIL View
42019 POST-TRIAL MOTION PROCEDURE 227.1
Sep/6 ORDER ORAL ARGUMENT SEPTEMBER 13 2019 THAT THE ORAL ARUGMENT ON THE View
/2019 MOTION FOR POST TRIAL RELIEF IS SCHEDULED OCTOBER 21

2019 N236

Sep/13 MOT/PET POST-TRIAL MOTION FOR POST TRIAL RELIEF PURSUANT TO PA R CIV PROG View
42019 RELIEF 227.1
Sep/13 OBJECTIONS TO MOTION OBJECTIONS TO DEFTS MOTION FOR POST TRIAL RELIEF View
{2019 PURSUANT TO PARCIV PROC 227.1
Sep/03 MOT/PET POST-TRIAL DEF MOTION FOR POST TRIAL RELIEF PURSUANT TO PA RCP View

f2019

RELIEF

227.1

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Aug/23. OPINION AND ORDER NON JURY TRIAL OPINION AND ORDER AUG 22 2019 AS TO PLFFS View
/2019 COMPLAINT VERDICT IS HEREBY ENTERED IN FAVOR OF PLFF

CHRISTINE BIROS AND GAINSG DEDT U LOCK INC ON COUNTS |

AND I GOUNT IIl OF PLFFS COMPLAINT IS
Jun/04/ NOTICE OF COMPLIANCE WITH ORDER OF COURT View
2019
May/20 FINDINGS OF FACT AND DEFTS PROPOSED FINDINGS OF FACT AND CONCLUSION OF LAW View
/2019 CONCLUSIONS OF LAW WITH PROPOPSED ORDER
May7 FINDINGS OF FACT AND PROPOSED View
/2019 CONCLUSIONS OF LAW
May/15 TRANSCRIPT OF HEARD ON APRIL 28, 2019 View
/2019 PROCEEDINGS
May/06 ORDER AMENDING ORDER MAY 3, 2019 THAT THE CAPTION IS AMENDED AS SET View
/2019 FORTH
Apr/30/ MOT/PET CONTINUANCE TRIAL AND ORDER APRIL 29, 2019 DENIED WITH PREJUDICE View
2019
Apr/26/ PRAECIPE WITHDRAW AND ORDER ACCERPT FOR FILING BY THE COURT View
2019 PRELIMINARY

OBJECTIONS

Apr/26/ MOTION/PETITION MOTION TO WITHDRAW PRELIMINARY OBJECTIONS AND ORDER View
2019 APRIL 26, 2019 THAT THE PRELIMINARY OBJECTIONS FILED ON

DECEMBER 1, 2017 ARE HEREBY DISMISSED WITH PREJUDICE
Apri26/ CERTIFICATE OF OF THE ORGINAL ANSWER AND NEW MATTER FILED ON APR 23 View
2019 SERVICE 2019
Apri26/ RESPONSE - PLAINTIFF'S PLFFS RESPONSE TO DEFTS NEW MATTER View
2019
Apri23/ ANSWER AND NEW ANSWER AND NEW MATTER View
2019 MATTER
Apr/0a/ SCHEDULING ORDER ORDER APRIL 3, 2019 THAT A ONE DAY NON-JURY TRIAL IS View
2019 SCHEUDLED ON APRIL 29, 2019 N236
Apr/ot/ PRAEGIPE TO SET TRIAL DATE View
2019
Marf29 MOTION/PETITION TO ENFORCE SETTLEMENT View
/2019
Feb/25 ANSWER ANSWERS AND OBJECTIONS TO THE SECOND SET OF View
/2019 INTERROGATORIES REQUEST FOR ADMISSIONS AND REQUEST

FOR PRODUCTION OF DOCUMENTS DIRECTED TO U LOCK ING

 
 

 

 

 

 

 

 

 

 

 

 

 

 

Jan/28/ ORDER PRELIMINARY ORDER THAT RULING ON SAID PRELIMINARY OBJECTIONS IS View
2019 OBJECTION DEFERRED AS THE PARTIES PURSUE SETTLEMENT AS SET

FORTH N236
Dec/07 JUDICIAL MARSILI TO JUDGE MARSILISMAIL View
(2018 REASSIGNMENT FORM

FROM

Dec/07 MOT/PET HEARING MOTION TO SCHEDULE HEARING TO DETERMINE PRELIMINARY View
12018 OBJECTIONS AND ORDER HEARING IS SCHEDULED ON JANUARY

24, 2019
Oct/12/ RESPONSE - PLAINTIFF'S TO DEFT U LOCK INCS NEW MATTER View
2018
Oct/01/ AMENDED DEFT U LOCK INCS AMENDED OBJECTIONS AND RESPONSES TO View
2018 THE INTERROGATORIES REQUESTS FOR ADMISSIONS AND

REQUEST FOR PRODUCTION OF DOCUMENTS AND EXHIBITS A

THROUGH Y NOT IMAGED
Sep/21 AMENDED ANSWER AND TO COMPLAINT FOR DECLATORY JDGMT AND EQUITABLE ACTION View
12018 NEW MATTER TO CONVEY TITLE TO QUIET TITLE AND FOR AN ACCOUNTING
Sep/07 ORDER PRELIMINARY ORDER SEPT 6 2018 THAT PRELIMINARY OBJECTIONS ARE View
72018 OBJECTION OVERRULED IN PART SUSTAINED IN PART AND STRICKEN IN PART

AS SET FORTH N236
Sep/07 MOTIPET STAY TAX SALE AND ORDER AS SET FORTH View
/2018 (NO FEE)
Julo6s ORDER ORDER DEFTS PETITION FOR PROTECTIVE ORDER I$ GRANTED View
2018 AS SET FORTH
Juloes MOT/PET PROTECTIVE DEFT U LOCK INCS PETITION PURSUANT TO PENNSYLVANIA RULE View
2018 ORDER OF CIVIL PROCEDURE 4012A FOR A PROTECTIVE ORDER AND

FOR A THIRTY (30) DAY EXTENSION OF TIME TO RESPOND TO THE

PLFFS DISCOVERY REQUESTS
Juvo6/ MOT/PET COMPEL DISCOVERY RESPONSE TO DEFTS OBJECTIONS TO PLFFS View
2018 DISCOVERY REQUEST AND RESPONSE TO PLFFS MOTION FOR

PROTECTIVE ORDER
Julo2/ RESPONSE TO DEFTS U LOCK INCS ANSWER TO PRELIMINARY OBJECTIONS View

2018

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

Juni13/ ANSWER PRELIMINARY DEFT U LOCK INCS ANSWER TO PRELIMINARY OBJECTIONS View
2018 OBJECTIONS BASED UPON FAILURE TO CONFORM TO RULE OF COURT AND

FOR INCLUSION OF SCANDALOUS AND IMPERTINENT MATTER

AND INSUFFICIENT SPECIFICITY IN PLEADING
Jun/13/ BRIEF IN OPPOSITION TO DEFT U LOCK INCS BRIEF IN OPPOSITION TO PRELIMINARY View
2018 PRELIMINARY OBJECTIONS BASED UPON FAILURE TO CONFORM TO RULE OF

OBJECTION COURT AND FOR INCLUSION OF SCANDALOUS AND IMPERTINENT

MATTER AND INSUFFICIENT SPECIFICITY IN PLEADING
May/23 CERTIFICATE OF OF SCHEDULING ORDER DATED MAY 17 2018 View
/2018 SERVICE
May/18 SCHEDULING ORDER FILING BRIEFS N236 View
(2018
May/16 OBJECTIONS AND RESPONSES TO THE INTERROGATORIES REQUESTS FOR View
/2018 ADMISSIONS AND REQUEST FOR PRODUCTION OF DOCUMENTS
May/14 PRELIMINARY BASED UPON FAILURE TO CONFORM TO RULE OF COURT AND View
/2018 OBJECTIONS FOR INCLUSION OF SCANDALOUS AND IMPERTINENT MATTER

AND INSUFFICIENT SPECIFICITY IN PLEADING AND BRIEF IN

SUPPORT
Apr23/ NOTICE OF SERVICE OF INTERROGATORIES REQUEST FOR ADMISSIONS AND View
2018 REQUEST FOR PRODUCTION OF DOCUMENTS DIRECTED TO U

LOCK INC
Apr/23/ OPPOSITION TO PRELIMINARY OBJECTIONS View
2018
Apri23/ AMENDED ANSWER AND TO COMPLAINT IN CIVIL ACTION FOR DECLATORY JUDGMENT View
2018 NEW MATTER AND EQUITABLE ACTION TO CONVEY TITLE TO QUIET TITLE AND

FOR AN ACCOUNTING
Apri 9f CERTIFICATE OF OF SCHEDULING ORDER View
2018 SERVICE
Aprit2/ SCHEDULING ORDER FILING BRIEF N236 View
2018
Apr/04/ PRELIMINARY PRELIMINARY OBJECTIONS BASED UPON FAILURE TO CONFORM View
2018 OBJECTIONS TO RULE OF COURT AND FOR INCLUSION OF SCANDALOUS AND

IMPERTINENT MATTER AND INSUFFICIENT SPECIFICITY IN

PLEADING AND BRIEF IN SUPPORT
Mar/28 PRAECIPE WITHDRAW AND BRIEF IN SUPPORT View
12018 PRELIMINARY

OBJECTIONS

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Mar/19 ANSWER COMPLAINT AND NEW MATTER TO COMPLAINT IN CIVIL ACTION FOR View
/2018 DECLARATORY JUDGMENT AND EQUITABLE ACTION TO CONVEY
TITLE TO QUIET TITLE AND FOR AN ACCOUTING

Mat/16 ORDER THAT THE DEFAULT JDGMT IN FAVOR OF PLFF AND AGAINST DEFT View
12018 U LOCK IS STRIKEN AS SET FORTH
Mar!16 MOT/PET STRIKE MOTION TO STRIKE DEFAULT JUDGMENT (NO FEE) View
/2018 JUDGMENT (NO FEE)
Mar/16 SCHEDULING ORDER SCHEDULING ORDER MARCH 15, 2018 FILING BRIEF AS SET View
12018 FORTH N236
Marl12 APPEARANCE ENTERED JOHN A TUMOLO ESQ View
(2018 BY
Mar/08 JUDICIAL FROM JUDGE SCHERER TO JUDGE MARSILL View
(2018 REASSIGNMENT FORM

FROM
Mar/06 ORDER RECUSAL ORDER RECUSAL THAT THE COURT ADMINISTRATORS OFFICE View
/2018 SHALL REASSIGN THIS CASE TO JUDGE ANTHONY MARSILI AS

SET FORTH N236

Mar/05 ANSWER COMPLAINT FOR DECLARATORY JUDGMENT AND EQUITABLE ACTION TO View
(2018 CONVEY TITLE TO QUIET TITLE AND FOR AN ACCOUNTING
Mar/05 APPEARANCE ENTERED J ALLEN ROTH ESQ View
12018 BY
Mar/0s BRIEF IN SUPPORT OF BRIEF IN SUPPORT OF DEFT U LOCK INCS PRELIMINARY View
/2018 PRELIMINARY OBJECTIONS TO THE COMPLAINT

OBJECTIONS
Mar/05 PRELIMINARY DEFT U LOCK INCS PRELIMINARY OBJECTIONS TO THE View
(2018 OBJECTIONS COMPLAINT
Mar/05 *MOT/PET OPEN OR *MOT/PET OPEN OR STRIKE JUDGMENT View
(2018 STRIKE JUDGMENT
Mar/02 APPEARANCE ENTERED DENNIS D DEC COTTO ESQ View
(2018 BY
Feb/23 * JUDGMENT EO DIE: *JUDGMENT EO DIE: JUDGMENT ENTERED/NOTICE SENT View
12018 JUDGMENT

ENTERED/NOTICE SENT
Feb/21 PRAECIPE REINSTATE PRAECIPE REINSTATE COMPLAINT EO DIE: COMPLAINT View
(2018 COMPLAINT EO DIE: REINSTATED

COMPLAINT REINSTATED

 
 

 

 

 

Feb/21 RETURN SERVICE BY OF PROCESS BY PUBLICATION View
/2018
dan/19/ PRAECIPE REINSTATE PRAECIPE REINSTATE COMPLAINT EO DIE: COMPLAINT View
2018 COMPLAINT EO DIE: REINSTATED
COMPLAINT REINSTATED
Jan/12/ MOTION/PETITION MOTION FOR SERVICE BY PUBLICATION PURSUANT TO RULE 430 View
2018 AND ORDER THAT DEFT U LOCK INC MAY BE SERVED BY
PUBLICATION IN ACCORDANCE WITH PA PRCP RULE 430
Jan/12/ *PRAECIPE [INDEX LIS *PRAECIPE INDEX LIS PENDENS View

2018

PENDENS
VERIFICATION OF SERVICE

|, Shanni Snyder, verify under the penalty for unsworn falsification to authorities that |
mailed a copy of this document to the following persons in this case on the 18th day of May,
2022, by First Class Mail:

William E. Otto, Esq.
PO Box 701
Murrysville, PA 15668

Dennis D. Del Cotto, Esq.
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William F. Ross, Esq.
406 N. Market Street
Wooster, OH 44691

John Tumolo, Esq.
Suite 1500, Frick Building
Pittsburgh, PA 15219

Hon. Harry F. Smail

Court of Common Pleas

2 N Main Street, Courtroom 2
Greensburg PA 15601

Court Administrator
Court of Common Pleas
2 N Main Streert
Greensburg PA 15601

 

Shanni La
